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AO 91 (Rev. 11/11) Criminal Complaint

UNITED STATES DISTRICT COURT

for the
Northern District of New York

 

 

 

 

 

 

UNITED STATES OF AMERICA )
. | Case No. >. \7 - POY Q “? C\ CERES \
U.S, DI -
CAMMRON A. ROBINSON Fi LED NY.
Defendant. i 13 2617
CRIMINAL COMPLAINT ena Beene CSRS

 

 

 

I, the complainant in this case, state that the following is true to the best of my knowledge and belief. On

or about the date of April 2017 through July 2017 in the county of Jefferson in the Northern District of New York

the defendant violated:
Code Section Offense Description
18 U.S.C. § 2251 (a) Sexual Exploitation of a Child

This criminal complaint is based on these facts:

See attached affidavit.

(XJ Continued on the attached sheet.

Attested to by the Applicant in Accordance with each AMM AG,

the Requirements of Rule 4.1 of the Federal Complainant's signature

Rules of Criminal Procedure.  jeathe Weber, SA Federal Bureau of Investigation

 

Printed name and title

Sworn to before me and signed in my presence.
(7
Date: October ]&, 2017
w6 Judge’s signature

City and State: Syracuse, New York Hon. Andrew T. Baxter, U.S. Magistrate Judge

 

Printed name and title
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AFFIDAVIT IN SUPPORT OF CRIMINAL COMPLAINT

I, Heather L. Weber, being duly sworn, depose and state:

I. INTRODUCTION

1. I am a Special Agent with the Federal Bureau of Investigation (“FBI”). I have been
so employed by the FBI since September 2014. I am currently assigned to the Albany Division,
Albany, New York. I have participated in investigations of persons suspected of violating federal
child pornography laws, including Title 18, United States Code, Sections 2251, 2252 and 2252A.
I have received training in the area of child sexual exploitation and have had the opportunity to
observe and review numerous examples of child pornography in all forms of media including
computer media.

2. This affidavit is made in support of an Application for a criminal complaint and
arrest warrant charging Cammron A. Robinson with violating Title 18, United States Code,
Sections 2251(a), Sexual Exploitation of a Child.

3. The statements in this affidavit are based on information provided by New York
State Police (NYSP) Investigator Todd Grant, NYSP Investigator Xaymara Morales, and on my
own investigation of this matter.

4, Because this affidavit is being submitted for the limited purpose of securing a
criminal complaint and arrest warrant, I have not included each and every fact known to me
concerning this investigation. I have set forth only those facts that I believe are necessary to
establish probable cause to believe that Robinson has committed the crime of Sexual Exploitation

of a Child, in violation of Title 18, United States Code, Section 2251(a).
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II. THE INVESTIGATION

5. On July 21, 2017, the mother of Minor Victim 1 (hereinafter “minor victim”)', went
to the New York State Police Lowville Barracks and reported that she had found text messages
between her son and a person named “Cammron” who was using an identifiable telephone number
845-XXX-XXXX. In these text messages Cammron asked the minor victim to send him sexually
explicit pictures and videos. One of the text messages sent from Cammron states: “If I send you a
video, and you jack off to it, will you send me a video of you doing it?” In response to the message
the minor victim indicated by text message that he would.

6. On July 21, 2017, the minor victim was forensically interviewed by an Investigator
with the NYSP. During the interview the minor victim stated that he met a person while playing
PlayStation 4 online who eventually identified himself as Cammron Alexander Robinson
(Robinson). Robinson told the minor victim that he lives at a specific address in New Paltz, N.Y.
The minor victim stated that he believed that Robinson was 21 or 22 years old and that his
relationship with him began as a friendship but progressed to more than just friends when Robinson
started telling him that he was “beautiful” and that he loved him. The minor victim stated that
Robinson sent him two photos of his erect penis and a video of himself masturbating and asked
the minor victim to send him a similar video in response. The minor victim denied sending a video
but admitted that he took photos of his erect penis and sent them to Robinson at his request. The
minor victim stated that prior to his mother finding out about this relationship, Robinson had made
arrangements to send him a terabyte storage device so that the minor victim would be able to take,

store, and send more sexual photos to Robinson. The minor victim stated that Robinson engaged

 

' The minor victim is a 12 year old male child that resides in Jefferson County in the Northern
District of New York.
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in sexual communication with him using the cellular telephone number 845-XXX-XXXX, a
specific email address, a specific Facebook page, the PlayStation 4 online communication
application, Skype, and the Zoom? app.

7. On July 21, 2017, NYSP Investigator Morales reviewed the contents of the minor
victim’s cellular telephone. Investigator Morales observed multiple conversations between
Robinson and the minor victim in which Robinson repeatedly requests that the minor victim send
him sexually explicit pictures and videos. Investigator Morales also observed sexually explicit
images sent by Robinson to the minor victim, and noted that the communications surrounding
those images suggest that it is Robinson depicted in these images. Investigator Morales searched
the name “Cammron Alexander Robinson” in multiple open source, publically available websites.
As aresult of these searches, she identified a 22 year old Cammron Alexander Robinson who was
residing at an address in New Paltz, N.Y. that matched the address the minor victim stated that
Robinson had given him.

8. A query of the Department of Motor Vehicles records provided driver’s license
information for Cammron Alexander Robinson, which stated that Robinson has a valid class D
New York State driver’s license with the same New Paltz, N.Y. address.

9. On September 25, 2017, through a query of the Justice Portal, Investigator Morales
found that while Robinson did not have a criminal history, but he did have a fingerprint record for
an Adoptive/Foster Parent Employee application. On this application, Robinson lists his address
as the same New Paltz, N.Y. address as the one he provided to the minor victim. The Justice Portal
displayed a picture taken on June 25, 2016, of Cammron which was used for the Adoptive/Foster

Parent Employee application. Investigator Morales compared the pictures sent from Cammron

 

2 Zoom is an application that offers video conferencing similar to Skype.
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Alexander Robinson to the minor victim with the photographs supplied in the Adoptive/Foster
Parent Employee application and determined they were the same person.

10. On September 27, 2017, your affiant identified cell phone number 845-XXX-
XXXX as belonging to AT&T. Your affiant served an administrative subpoena on AT&T
requesting the subscriber information for this number. AT&T advised that cell phone number 845-
XXX-XXXX is subscribed to by a Stuart Robinson located at the same New Paltz, N.Y. address
previously identified by the minor victim and the other database checks.

11. | A query of the Department of Motor Vehicles records reflect that Stuart Robinson
has a valid class D New York State driver’s license with an address listed as the same New Paltz,
N.Y. address previously identified by the minor victim and the other database checks. Investigator
Morlas reviewed the Facebook page of Cammron Alexander Robinson. That analysis revealed
that Stuart Robinson is listed as the father of Cammron Alexander Robinson.

12. On September 27, 2017 members of the New York State Police Troop F Major
Crimes Unit conducted surveillance at the New Paltz, N.Y. address. During this surveillance, they
observed a 2015 Jeep Grand Cherokee dark in color bearing NY registration EXX8539. A
registration inquiry conducted through the Department of Motor Vehicles on the registration
EXX8539 shows that this vehicle is registered to a Stuart Robinson of New Paltz, N.Y.

13. On September 28, 2017, the minor victim was re-interviewed at a Child Advocacy
Center. During the interview, the minor victim again stated that a white male named “Cammron”
had masturbated over the internet while video chatting with him on multiple occasions. The minor
victim further stated that “Cammron” had repeatedly requested videos and images of him
masturbating. The minor victim stated that at Robinson’s request he sent images of his erect penis

to him over the internet. The minor victim was shown a 6-pack photo array containing a picture
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of Cammron Alexander Robinson. The minor victim positively identified Cammron Alexander
Robinson as the white male who had masturbated in front of him over the internet and requested
images and videos of him masturbating.

14. On October 4, 2017, your affiant, as well as member of the New York State Police,
executed a state search warrant at Robinson’s New Paltz, N.Y. address. During the execution of
the warrant Investigator Morales, with the assistance of the New York Police Computer Crimes
Unit, identified and secured multiple items of digital equipment from Cammron Robinson’s
bedroom.

15. During the execution of the aforementioned warrant Cammron Robinson was
present and agreed to accompany NYSP Investigator Todd Grant to the state police barracks in
Highland, N.Y. to be interviewed about this investigation. Prior to the interview, Robinson was
advised of his Miranda Rights and Robinson agreed to speak to Investigator Grant without an
attorney present. During the interview, Robinson admitted that he had met the minor victim while
online playing games on the PlayStation 4. Robinson admitted that he had used his computer and
the internet to send a video of himself masturbating to the minor victim. Robinson further admitted
that he had requested that the minor victim send him images and videos of the child masturbating.
Robinson advised that he possessed these images and videos on his laptop computer which was
located in his bedroom. Robinson advised that he possessed multiple images of child pornography,
some of these images depicted children under the age of two-years old. Robinson also stated that
located within the system files on his laptop, he had several folders with boys’ names on them and
contained within these folders are videos and images of boys that were created and sent to him at
his request. At the conclusion of the interview Robinson was arrested for violations of New York

State penal Law section 263.05 Use of a Child in a Sexual Performance, and 235.22 Disseminating
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Indecent Material to Minors in the first degree.

16. On October 6, 2017, NYSP Senior Investigator Karl Stonebarger conducted a limited
forensic preview of the laptop secured from Robinson’s bedroom. During this forensic preview,
some of the folders located were titled “CP”, “Shared, Boys”, “Boys and Girls”, “Girls”, and
folders bearing male names which contain images of prepubescent males engaged in sexual acts. ~
One of these folders bears the name of the minor victim. Inside this folder fifteen images and four
videos exist which depict the minor victim engaged in sexually explicit acts or poses.

17. One of the images found in the subfolder bearing the name of the minor victim, titled
“20170525 _014646.jpg” depicts the minor victim displaying his erect penis in a lewd and
lascivious manner. The image appears to be a screenshot of Skype conversation and the time on
the laptop indicates the image was received on 5/21/2017 at 12:58 a.m.

18. Also located within a video subfolder bearing the minor victim name, your affiant
identified a video titled “anl.mp4” which depicts a 46 second video of the minor victim
masturbating with an erect penis.

19. The videos and images referenced above are available for the Court’s review upon
request.

20. | Based upon analysis of the forensic preview, interview of the minor victim and
interview of Robinson the above-mentioned conduct occurred between April 2017 and July 2017.
Ill. CONCLUSION

21. Based upon the above, your affiant respectfully submits that there is probable cause
to believe that CAMMRON A. ROBINSON employed, used, persuaded, induced, enticed, and
coerced a minor to engage in sexually explicit conduct for the purpose of producing any visual

depiction of such conduct, or for the purpose of transmitting a live visual depiction of such conduct,
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knowing and having reason to know that such visual depiction would be transported or transmitted
using any means or facility of interstate or foreign commerce or in or affecting such commerce,
and where such visual depiction has actually been transported or transmitted using any

means or facility of interstate or foreign commerce or in or affecting interstate or foreign commerce

or mailed, in violation of 18 U.S.C. § 2251(a).

Vath dlr

Heather Weber
Special Agent
Federal Bureau of Investigation

Sworn to me

This \% ° day of October 2017

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Hon. Andrew T. Baxter
United States Magistrate Judge
